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UN|TED STATES OF AMER|CA
-v- 04-20313-02-Ma

DEREK BOBO
Doris Ftangle-Ho|tl FPD

Defense Attorney
200 Jefferson Avenue, Suite 200
Nlemphis,Tennessee 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 4 of the indictment on Aprii 15, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section MM_Y M=.LLM Num(s)
21 U.S.C. § 841 (a)(1) Un|awfu| possession with the intent to 07/14/2004 4

distribute approximately 9.3 grams of
cocaine base

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the |Vlandatory
Victims Fiestitution Act of 1996.

Counts 1 and 5 are dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/30/ 1977 July 28, 2005
Deft’s U.S. lVlarsha| No.: 19813-076

Defendant’s Flesidence Address:
682 Western Park Drive
N|emphis, TN 38109

SAMUEL H. N|AYS, JFl.
UN|TED STATES D|STF{|CT JUDGE

This doctment entered on the docket shee _cc&n:t, ancs
th n.lle 55 and/or szib) Pach on _$_’_ §F__%__

 

August , 2005

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Case No: 04-20313-02-Ma
Defendant Name: Derek Bobo Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of thirty (30) months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour drug rehabilitation program

That defendant be designated to serve his term of imprisonment at |Vli|tington,
Tennessee, or at Federal Correctional |nstitution, Forrest City, Arkansas.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgmentl
UNITED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

Case 2:04-cr-20313-SH|\/| Document 85 Filed O8/O5/O5 Page 3 of 6 PagelD 120

Case No: 04-20313-02-Ma
Defendant Name: Derek Bobo Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of four (4) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district Without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6_ The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7, The defendant shall not frequent places where controlled substances arc illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20313-02-Ma
Defendant Name: Derek Bobo Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12_ As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or cf'iarac:teristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| |Vlonetary Penaities sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which mayinc|ude testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20313-02-Ma
Defendant Name: Derek Bobo Page 5 of 5

CFtIMlNAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Paymentsl The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tctai Assessment Totai Fine Tota| Ftestitution
$100.00

The Specia| Assessment shall be due immediatelyl

F|NE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 2:04-CR-203]3 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
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Memphis7 TN 38103

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
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Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
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Honorable Samuel Mays
US DISTRICT COURT

